                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       NO. 3:14-00090
                                             )       JUDGE CAMPBELL
JAMAL COOPER et al.                          )


                                             ORDER


       Defendant Jamal Cooper was set for trial on July 29, 2014 (see Docket No. 13) prior to

the Superseding Indictment that included new Defendants.

       By July 22, 2014, Defendant Cooper shall file a written notice if he intends to go to trial

on the scheduled date.

       Pending before the Court is Defendant Wallace Beckwith’s Motion to Enlarge Time

Within Which to File Pretrial Motions (Docket No. 222). The Motion is GRANTED.

       The deadline for filing pretrial motions is extended to August 30, 2014 for ALL

Defendants BUT Defendant Cooper, who has an earlier trial date.

       The Government is ordered to forthwith produce any outstanding discovery.

       IT IS SO ORDERED.



                                                     __________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




 Case 3:14-cr-00090        Document 223          Filed 07/15/14    Page 1 of 1 PageID #: 390
